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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re

WESTINGHOUSE         ELECTRIC       COMPANY   Chapter 11
LLC,
                                              Case No. 17-10751 (MEW)
et al.,
                                              (Jointly Administered)
                            Debtors.


WESTINGHOUSE ELECTRIC COMPANY
LLC, as reorganized

                            Plaintiff,

v.                                            Adv. Proc. No. 19-01109-(MEW)

SOUTH CAROLINA PUBLIC SERVICE
AUTHORITY

                            Defendant.


          DEFENDANT SOUTH CAROLINA PUBLIC SERVICE AUTHORITY’S
                  MOTION TO WITHDRAW THE REFERENCE

TO THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK:
          Case 1:19-cv-04174-VEC Document 1 Filed 05/08/19 Page 2 of 3



               Defendant South Carolina Public Service Authority (“Santee Cooper”), the

defendant in the captioned adversary proceeding, respectfully moves the United States District

Court for the Southern District of New York for an order, pursuant to 28 U.S.C. § 157(d), Rule

5011 of the Federal Rules of Bankruptcy Procedure, and Rule 5011-1 of the Local Rules of the

Bankruptcy Court, withdrawing the reference of the captioned adversary proceeding to the

Bankruptcy Court for the reasons set forth in the accompanying memorandum of law, which is

incorporated herein by reference.

               Santee Cooper has made no prior request to this Court or to any other court for the

relief requested by this Motion. Santee Cooper submits this Motion without prejudice to, and

without waiver of, any rights, arguments or defenses that Santee Cooper might have at law or in

equity, including defenses based on lack of subject matter or personal jurisdiction.

       WHEREFORE, South Carolina Public Service Authority respectfully request that the

Court enter an Order granting the relief requested herein, and such other and further relief as the

Court deems just and proper.




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Dated: May 8, 2019
       New York, New York
                                     Respectfully submitted,

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